                              Case 06-30097 Document 1 Filed in TXSB on 01/04/06 Page 1 of 3
(Official Form 1) (10/05)
                                            UNITED STATES BANKRUPTCY COURT
                                             SOUTHERN DISTRICT OF TEXAS                                                                                Voluntary Petition
                                                   HOUSTON DIVISION
Name of Debtor (if individual, enter Last, First, Middle):                                         Name of Joint Debtor (Spouse) (Last, First, Middle):
Valdez, Raymond                                                                                    Valdez, Andrea

All Other Names used by the Debtor in the last 8 years                                             All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                        (include married, maiden, and trade names):




Last four digits of Soc. Sec./Complete EIN or other Tax I.D. No. (if more                          Last four digits of Soc. Sec./Complete EIN or other Tax I.D. No. (if more
than one, state all):                                                                              than one, state all):
xxx-xx-7670                                                                                        xxx-xx-4115
Street Address of Debtor (No. & Street, City, and State):                                          Street Address of Joint Debtor (No. & Street, City, and State):
1101 E. Trinity                                                                                    1101 E. Trinity
Victoria, TX                                                                                       Victoria, TX
                                                                          ZIPCODE                                                                                        ZIPCODE
                                                                           77901                                                                                         77901
County of Residence or of the Principal Place of Business:                                         County of Residence or of the Principal Place of Business:
Victoria                                                                                           Victoria
Mailing Address of Debtor (if different from street address):                                      Mailing Address of Joint Debtor (if different from street address):
1101 E. Trinity                                                                                    1101 E. Trinity
Victoria, TX                                                                                       Victoria, TX
                                                                          ZIPCODE                                                                                        ZIPCODE
                                                                           77901                                                                                         77901
Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                         ZIPCODE


 Type of Debtor (Form of Organization)                         Nature of Business                                Chapter of Bankruptcy Code Under Which
               (Check one box.)                              (Check all applicable boxes.)                          the Petition is Filed (Check one box)
 þ    Individual (includes Joint Debtors)
                                                     ¨   Health Care Business
 ¨    Corporation (includes LLC and LLP)
                                                     ¨   Single Asset Real Estate as defined       ¨    Chapter 7           ¨     Chapter 11       ¨ Chapter  15 Petition for Recognition
                                                                                                                                                     of a Foreign Main Proceeding
 ¨    Partnership                                        in 11 U.S.C. § 101(51B)                   ¨    Chapter 9           ¨     Chapter 12

 ¨    Other (If debtor is not one of the above       ¨   Railroad                                                þ   Chapter 13                    ¨ Chapter 15 Petition for Recognition
      entities, check this box and provide the                                                                                                          of a Foreign Nonmain Proceeding
      information requested below.)                  ¨   Stockbroker

      State type of entity:                          ¨   Commodity Broker                                                Nature of Debts (Check one box)
                                                     ¨   Clearing Bank                             þ    Consumer/Non-Business                      ¨    Business
                                                     ¨   Nonprofit Organization qualified
                                                         under 15 U.S.C. § 501(c)(3)                                                Chapter 11 Debtors
                                                                                                   Check one box:
                              Filing Fee (Check one box)
                                                                                                   ¨    Debtor is a small business debtor as defined by 11 U.S.C. § 101(51D).
 þ    Full Filing Fee attached
                                                                                                   ¨    Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
 ¨    Filing Fee to be paid in installments (Applicable to individuals only)
      Must attach signed application for the court's consideration certifying that the             Check if:
      debtor is unable to pay fee except in installments. Rule 1006(b). See Official
      Form 3A.                                                                                     ¨    Debtor's aggregate noncontigent liquidated debts owed to non-insiders or
                                                                                                        affiliates are less than $2 million.
      Filing Fee waiver requested (Applicable to chapter 7 individuals only). Must
 ¨    attach signed application for the court's consideration. See Official Form 3B.
 Statistical/Administrative Information                                                                                                           THIS SPACE IS FOR COURT USE ONLY

 þ    Debtor estimates that funds will be available for distribution to unsecured creditors.

 ¨    Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
      there will be no funds available for distribution to unsecured creditors.
 Estimated Number
 of Creditors            1-         50-        100-          200-     1,000-     5,001-      10,001-   25,001-    50,001-     OVER
                         49         99         199           999      5,000      10,000      25,000    50,000     100,000    100,000
                        þ          ¨             ¨           ¨         ¨          ¨            ¨         ¨           ¨          ¨
 Estimated Assets
   $0 to         $50,001 to       $100,001 to         $500,001 to    $1,000,001 to $10,000,001 to $50,000,001 to More than
  $50,000         $100,000         $500,000            $1 million      $10 million   $50 million   $100 million  $100 million
   ¨                 þ                 ¨                 ¨                 ¨                 ¨               ¨                ¨
 Estimated Debts
   $0 to         $50,001 to       $100,001 to         $500,001 to    $1,000,001 to $10,000,001 to $50,000,001 to More than
  $50,000         $100,000         $500,000            $1 million      $10 million   $50 million   $100 million  $100 million
   ¨                 ¨                 þ                 ¨                 ¨                 ¨               ¨                ¨
Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas (210) 561-5300, Copyright 1996-2005 (Build 7.5.2.1, ID 0113095760)
                           Case 06-30097 Document 1 Filed in TXSB on 01/04/06 Page 2 of 3
(Official Form 1) (10/05)                                                                                                                                      FORM B1, Page 2
 Voluntary Petition                                                                     Name of Debtor(s):    Raymond Valdez
                                                                                                              Andrea Valdez
 (This page must be completed and filed in every case)
                              Prior Bankruptcy Case Filed Within Last 8 Years                  (If more than two, attach additional sheet)
Location Where Filed:                                                                   Case Number:                                  Date Filed:
 None
Location Where Filed:                                                                   Case Number:                                  Date Filed:


        Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                 (If more than one, attach additional sheet)
Name of Debtor:                                                                         Case Number:                                  Date Filed:


District:                                                                               Relationship:                                 Judge:


                                         Exhibit A                                                                             Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                           (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                              whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)     I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                        informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                        of title 11, United States Code, and have explained the relief available under each
                                                                                        such chapter.
 ¨      Exhibit A is attached and made a part of this petition.
                                                                                        I further certify that I delivered to the debtor the notice required by § 342(b) of the
                                                                                        Bankruptcy Code.

                                                                                        X     /s/ Sonya Kapp                                                     01/04/2006
                                                                                             Sonya Kapp                                                             Date
                                         Exhibit C                                                  Certification Concerning Debt Counseling
 Does the debtor own or have possession of any property that poses or is alleged to                      by Individual/Joint Debtor(s)
 pose a threat of imminent and identifiable harm to public health or safety?
                                                                                              I/we have received approved budget and credit counseling during the 180-day
                                                                                        þ     period preceding the filing of this petition.
 ¨      Yes, and Exhibit C is attached and made a part of this petition.
                                                                                        ¨     I/we request a waiver of the requirement to obtain budget and credit counseling
                                                                                              prior to filing based on exigent circumstances. (Must attach certifcation
 þ      No
                                                                                              describing.)


                                                     Information Regarding the Debtor (Check the Applicable Boxes)
                                                                  Venue (Check any applicable box)

 þ      Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
        preceding the date of this petition or for a longer part of such 180 days than in any other District.


 ¨      There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

 ¨      Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
        principal place of business or assets in the United States but is a defendant in an action or proceeding (in a federal or state court) in this District,
        or the interests of the parties will be served in regard to the relief sought in this District.


                                                Statement by a Debtor Who Resides as a Tenant of Residential Property
                                                                      Check all applicable boxes.


 ¨      Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)
                Name of landlord that obtained judgment:
                Address of landlord:




 ¨      Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire
        monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and



 ¨      Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of the
        petition.




Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas (210) 561-5300, Copyright 1996-2005 (Build 7.5.2.1, ID 0113095760)
                           Case 06-30097 Document 1 Filed in TXSB on 01/04/06 Page 3 of 3
(Official Form 1) (10/05)                                                                                                                                             FORM B1, Page 3
 Voluntary Petition                                                                          Name of Debtor(s):     Raymond Valdez
                                                                                                                    Andrea Valdez
 (This page must be completed and filed in every case)
                                                                                        Signatures
             Signature(s) of Debtor(s) (Individual/Joint)                                                          Signature of a Foreign Representative
 I declare under penalty of perjury that the information provided in this petition is        I declare under penalty of perjury that the information provided in this petition is true
 true and correct.                                                                           and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7,
 11, 12 or 13 of title 11, United States Code, understand the relief available under
                                                                                             (Check only one box.)
 each such chapter, and choose to proceed under chapter 7.
 [If no attorney represents me and no bankruptcy petition preparer signs the
 petition] I have obtained and read the notice required by § 342(b) of the
                                                                                             ¨ ICertified
                                                                                                 request relief in accordance with chapter 15 of title 11, United States Code.
                                                                                                          copies of the documents required by § 1515 of title 11 are attached.
 Bankruptcy Code.

 I request relief in accordance with the chapter of title 11, United States Code,            ¨ Pursuant  to § 1511 of title 11, United States Code, I request relief in accordance
                                                                                               with the chapter of title 11 specified in this petition. A certified copy of the
 specified in this petition.                                                                     order granting recognition of the foreign main proceeding is attached.


 X     /s/ Raymond Valdez
      Raymond Valdez
                                                                                             X
       /s/ Andrea Valdez                                                                         (Signature of Foreign Representative)
 X    Andrea Valdez

                                                                                                 (Printed Name of Foreign Representative)
     Telephone Number (If not represented by an attorney)
     01/04/2006
     Date                                                                                        (Date)
                              Signature of Attorney                                                         Signature of Non-Attorney Petition Preparer
                                                                                             I declare under penalty of perjury that: 1) I am a bankruptcy petition preparer as
 X     /s/ Sonya Kapp                                                                        defined in 11 U.S.C. § 110; 2) I prepared this document for compensation and
      Sonya Kapp                                       Bar No. 11095395                      have provided the debtor with a copy of this document and the notices and
                                                                                             information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, 3) if rules
                                                                                             or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a
 Boren, Swindell & Associates, L.L.P.                                                        maximum fee for services chargeable by bankruptcy petition preparers, I have
 2900 Weslayan, #595                                                                         given the debtor notice of the maximum amount before preparing any document
                                                                                             for filing for a debtor or accepting any fee from the debtor, as required in that
 Houston, TX 77027
                                                                                             section. Official Form 19B is attached.


          (713) 622-8858
 Phone No.______________________        (713) 622-3701
                                 Fax No.______________________                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     01/04/2006
     Date                                                                                    Social Security number (If the bankruptcy petition preparer is not an individual,
                                                                                             state the Social Security number of the officer, principal, responsible person or
                                                                                             partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)


                Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this petition is
 true and correct, and that I have been authorized to file this petition on behalf of
 the debtor.
                                                                                             Address
 The debtor requests relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.
                                                                                             X
                                                                                                 Date
 X                                                                                           Signature of Bankruptcy Petiton Preparer or officer, principal, responsible person, or
                                                                                             partner whose social security number is provided above.

                                                                                             Names and Social Security numbers of all other individuals who prepared or
     Printed Name of Authorized Individual
                                                                                             assisted in preparing this document unless the bankruptcy petition preparer is not
                                                                                             an individual:
     Title of Authorized Individual

                                                                                              If more than one person prepared this document, attach additional sheets
     Date                                                                                     conforming to the appropriate official form for each person.

                                                                                              A bankruptcy petition preparer's failure to comply with the provisions of title 11
                                                                                              and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                              imprisonment or both (11 U.S.C. § 110; 18 U.S.C. § 156).
